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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                            CASE No. 22-CR-20114-KMW

  UNITED STATES OF AMERICA

        vs.

  CARLOS RAMON POLIT FAGGIONI
  _________________________________/

                   DEFENDANT’S MOTION FOR NEW TRIAL

        Defendant respectfully moves, pursuant to Fed. R. Crim. P. 33, for a new trial

  in the interest of justice, and in support of the motion states:

        1.     Rule 33 of the Federal Rules of Criminal Procedure grants this Court

  the authority, in its exercise of discretion, to grant a new trial for any just reason,

  including based on motions and objections previously made or adopted at trial. See

  Fed. R. Crim. P. 33(a) (“Upon the defendant’s motion, the court may vacate any

  judgment and grant a new trial if the interest of justice so requires.”); see United

  States v. Tipton, 572 F. App’x 743, 745 (11th Cir. 2014) (new trial motion rulings

  reviewed for abuse of discretion, where issues were also raised during trial).

  Defendant renews, as grounds for Rule 33 relief, his previously-raised evidentiary

  objections, instructional requests and objections, and motions for mistrial. In

  addition, Defendant requests a new trial in that the conviction on one or more counts

  is against the great weight of the evidence regarding key elements of qualifying
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  predicate offenses for proceeds, the promotional money laundering theory, the use

  of an interest payment as a basis for a count of conviction, the absence of the

  requisite purpose-of-concealment under Regalado Cuellar v. United States, 553 U.S.

  550, 557, 566 (2008), and related arguments made in Defendant contemporaneously-

  filed motion for judgment of acquittal under Fed. R. Crim. P. 29(c).

        2.     In addition to the weight-of-the-evidence and previously preserved

  objections and motions, Defendant also requests that the Court grant a new trial

  based on the specific contentions addressed below as to the jury instructions

  regarding the offenses alleged in this case. Defendant preserved these objections

  both in specific instructional requests, see DE:176, 176-2, 178, in redlined objections

  to the parties’ joint instructional submissions, see DE:176-1, and at the charge

  conference in this case. As has been noted, “Jury instructions do have an outsized

  impact on a trial. Trials are won and lost in the word[s] of specific jury instructions.”

  2024 WLNR 7238931 (Wash. Post May 20, 2024).

        ●      Denial of defense request for a multiple conspiracy instruction the

  defense believed was needed in this case, including because the government charged

  the bribe payors and Defendant as co-conspirators.

        ●      Denial of defense request, DE:178, for instruction distinguishing

  proceeds of “some unlawful activity” from “criminally derived proceeds,” where

  statutory definitions diverge, with only the former addressing foreign crimes.
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        ●      Denial of defense request for instruction that a transfer of funds that

  constitutes the commission of the underlying criminal activity does not in itself

  constitute promotion of the “carrying on” of the activity unless the purpose and

  design of the commission of such offense was to facilitate the commission of further

  crimes.

        ●      Denial of defense request for instruction that payments in recognition

  of actions the public official has already taken or committed to take, without any

  quid pro quo agreement to take those actions, do not constitute bribery.

        ●      Denial of defense request for instruction that phrase “specified unlawful

  activity” means an offense against a foreign nation, specifically Ecuador, involving

  bribery of a public official, as defined by Ecuador’s Penal Code, but only if the

  offense also constitutes bribery within the meaning of 18 U.S.C. § 1956(c)(7)(B)(iv).

        ●      Denial of defense request for instruction that to find that the Defendant

  committed a violation of Ecuadorian law, you must be unanimous as to which of the

  Ecuadorian laws were violated, i.e., Article 286 of the 1971 Ecuadorian Penal Code

  and/or Article 280 of the 2014 Ecuadorian Penal Code (effective as of August 10,

  2014).

        ●      Denial of defense request for instruction that to constitute bribery of a

  public official, only quid pro quo payments made to such an official made for the

  purpose of influencing a decision or action not yet made or taken qualify—in other
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  words, “bribery” criminalizes only quid pro quo bribes, and not the payment of any

  after-the-fact gratuity.

        ●      Denial of defense request for special instructions on the concealment

  element, that to find the Defendant guilty of concealment money laundering, the

  evidence must show more than a simple transfer of funds between two accounts that

  already conceal the nature, location, source, ownership, or the control of the

  proceeds; and instruction that the transaction is designed so that funds are more

  concealed after the transaction is completed than before.

        ●      Denial of defense request for instruction that promotion laundering

  cannot consist of the conduct constituting the specified activity.

        ●      Erroneous instruction that the Ecuadorian law concept of liability for a

  mere agreement to accept a promise of the conveyance of a bribe payment constitutes

  a violation of the U.S. law concept of bribery, and that the Ecuadorian law concept

  of bribery liability for influencing the way someone does their job is consistent with

  U.S. bribery law.

        ●      Erroneous instruction that every bribery offense under the Ecuador

  penal code violates the U.S. standard for bribery, and removal of that issue from the

  jury’s consideration.

        ●      Erroneous willfulness instruction lacking requirement of knowledge of

  the violation of a criminal law in that the statutory specific intent requirement
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  applicable to the charged money laundering offenses dealing with proceeds or

  promotion require proof of a defendant’s specific knowledge of a criminal law

  violation.

        3.     Even if individual instructional issues considered separately might be

  deemed insufficient to require a new trial, Defendant requests that the Court consider

  the cumulative impact of the instructional questions in considering whether, in the

  interest of justice, a new trial is warranted.

        WHEREFORE, the Court should grant the motion for new trial as to all

  counts.

                                           Respectfully submitted,

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